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DeKalb County Police Department Case #:
Page 1 of 2 GA0440200 22100058
INCIDENT REPORT

EVENT INFORMATION

Incident Type: Incident Start: Incident End: Date Report: [Loc Code:
NON-CODABLE INCIDENT 11/25/2022 [14/25/2022 11/25/2022 :350
15:30:00 17:00:00 20:50:00 |

120 Eb Entry Ramp / 1285 Nb Exit Ramp , UNINCORPORATED DEKALB COUNTY, GA 30034

OFFENSES
iOffense: ‘Counts: [Incident Code: |NIBRS Code: |
‘NC - WANTED PERSON LOCATED 1 \99
‘Premise Type: ‘Weapon Type: ‘Forcible: Hate Motivated:
NONE
BUSINESS VICTIM
‘Business Name: ms Phone #:
‘STATE OF GEORGIA
‘Associated Offenses
-NCWPL ,NC - WANTED PERSON LOCATED NIBRS:99
OFFENDER(S)
Name (Last Suffix, First Middle): Moniker/Nickname: |DOB: lAge: Sex: ‘Race: Ethnicity:
‘REID , RANDAL QURAN ‘02/09/1994 |28 iM ‘B NON- falar
‘Address: Home #: ‘Cell #: Email:
5094 PANOLA MILL RD , (678) 863-9991
‘LITHONIA, GA 30038- ee
SSN: ‘Resident Status: Height: ‘Weight |Hair Color: Hair Style: Hair Length: Eye Color: OLN#State
| 510 165 BLACK jBROWN .056138679/GA
‘Occupation: femployer: [pmelover Address: ‘Employer Phone:
‘Arrested? Used: oo , ~T |
SMTs ~~ ee ~

‘Associated Offenses |
NCWPL iNc - WANTED PERSON LOCATED NIBRS:89 |

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VEHICLE(S)
Class: i Status: Tag Number: ' State: Year: ; VIN: i Type:
\csvo467 IGA | 1 C4RJ EAG3HC952367
Year: |Make: Model: ~~ Style: ~~ ‘Color: linsured By:
2017 Jeep Grand Cherokee White
Value: | Recovery Value: Date Recovered: ‘Recovered Address: Vehicle Recovery:
{oo ee __
Owner: 'Address:

I aa
EXHIBIT

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DeKalb County Police Department c
Page 2 of 2 GA0440200 22" 100059
INCIDENT REPORT

Inventory Date: “Stored At: | Secured: Released to Other:
SOUTH DEKALB

|
|
'Related To: . OO —
Te TT EE ECS eee ee

NARRATIVE(S)

|Date:
11/25/2022 20:52:13

Officer Name:
'ANDERSON, B K 3337

|Title:
INITIAL REPORT

‘On Friday, November 25, 2022, at approximately 1530 hrs, while patrolling unincorporated DeKalb County conducting interstate

‘enforcement on I-20EB near the 1-285 split, | observed a white 2017 Jeep Grand Cherokee bearing Georgia tag CSV9467.

A random GCIC/NCIC query of the vehicle tag informed me that the registered owner, Mr. Randal Reid, was showing two active
felony larceny warrants for his arrest with full extradition. One with the Jefferson Parish Sheriff's Office and the second out of the

{

‘Baton Rouge Police Department, Louisiana, WNO#6309522.
|

‘Based on the Department of Driver Services (DDS) photo on file for Mr. Reid and a male driver matching his physical description,
:a traffic stop was conducted. | approached the vehicle and asked the suspect for his driver's license, and the suspect advised
‘that he did not have it on him. However, he announced his name was Mr. Randal Reid, DOB 02/09/1994, providing the same

‘information on the hit for the wanted person.

| subsequently removed Mr. Reid from the vehicle, placed him into custody with the assistance of Officer R Mason (Motor 11),
-and informed him that he was showing two felony larceny warrants for his arrest. The warrants were also attached to his Georgia
‘driver's license on the hit. The warrants were subsequently confirmed, and Mr. Reid was transported to the DeKalb County jail to
‘be extradited. The vehicle was inventoried and then towed to South DeKalb. Incident recorded on body-worn camera.

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